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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    STEVEN C. ZEPEDA,                                 Case No.: 21-CV-625-AJB-WVG
12                                     Plaintiff,
                                                        ORDER SETTING VIDEO
13    v.                                                MANDATORY SETTLEMENT
                                                        CONFERENCE
14    PERSOLVE LEGAL GROUP, LLP and
      DNF ASSOCIATIONS,
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                                   Defendants.
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19         Consistent with presiding District Judge Anthony J. Battaglia’s Order directing the
20   Parties to engage in a Mandatory Settlement Conference (“MSC”) before this Court (Doc.
21   No. 64), the Court hereby ORDERS the Parties, their counsel, and insurance adjusters, if
22   any at all, to virtually appear for a Video MSC on Wednesday, March 15, 2023, at 6:00
23   a.m. PST. Chambers will provide counsel the relevant Zoom meeting information. To that
24   end, no later than Wednesday, March 8, 2023, counsel shall lodge (1) their and their
25   clients’ appearances and direct telephone numbers for purposes of the March 15, 2023,
26   Video MSC; and (2) the Parties’ MSC statements, clearly identifying their settlement
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28                                                                       21-CV-625-AJB-WVG
     Case 3:21-cv-00625-AJB-WVG Document 65 Filed 02/28/23 PageID.364 Page 2 of 2




 1   positions, areas of agreement, and what specific issues divide the Parties for settlement
 2   purposes.
 3         IT IS SO ORDERED.
 4   DATED: February 28, 2023
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